4:10-cr-03092-RGK-CRZ     Doc # 183   Filed: 11/05/18   Page 1 of 1 - Page ID # 1181




                IN IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,
                                                        4:10CR3092
      vs.
                                                   ORDER TO RELEASE
DAVID W. SEEVERS and
                                                     GARNISHMENT
MARCELLA M. SCHARTON,

                  Defendants,


      This matter comes before this Court on the Motion of the Plaintiff, United

States of America, for an order releasing the garnishment against State Bank of

Table Rock, P.O. Box D, Table Rock, NE 68447.

      IT IS HEREBY ORDERED that the government’s motion, (Filing No. 180),

is granted, and the garnishment against State Bank of Table Rock, is released.

      November 5, 2018.
                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
